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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             Case No. 16-cv-80689-BLOOM/Valle

 JANET HOYT,

        Plaintiff,

 v.

 OUTBACK STEAKHOUSE
 OF FLORIDA, LLC,

       Defendant.
 __________________________/

                       ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal with

 Prejudice, ECF No. [15] (“Notice”), filed on August 8, 2016. The Court has carefully reviewed

 the Notice and the record, and is otherwise fully advised in the premises. Accordingly, it is

 ORDERED AND ADJUDGED that the above-styled case is DISMISSED WITH

 PREJUDICE. Each party shall bear its own attorneys’ fees and costs. The Clerk shall CLOSE

 the case.

        DONE AND ORDERED in Miami, Florida, this 8th day of August, 2016.




                                                      _________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE

 cc:    counsel of record
